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      ct...AO 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
                 Sheet I



                                                UNITED STATES DISTRICT COURT                                                  '2IH3l1!\Y \ 5 AM 8: 56
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                               CL~')<   ,'
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL~~SE '.
                                          v.                                        (For Offenses Committed On or Aft~ N1'1ber.1, 1987)                         .,'Y'
                                                                                                                               .)V _ " .'.
                              JORGE CORTEZ (8)                                      Case Number: 09CR1209-H
                                                                                     Tood A. Moore
                      ,                                                             Defendant's Atturney
     REGISTRATION NO, I 13907-298

     o                          ,
     THE DEFENDANT:             I                                .     .
      181pleaded guilty to qount(s) 18 of the Superseding IndIctment.

      o                          I
            was found guilty 9n count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea ofnot guilty.
            Accordingly, the qefendant is adjudged guilty of such count(s), which involve the following offense(s):
                               ,,I                                                                                                              Count
     Title & Section                           Nature of Offense                                                                              Number(s)
18 USC 1014 and 2;                       FALSE STATEMENT ON A LOAN APPLICATION                                                                 18
Pinkerton v. United Sates,
328 U.S. 640 (1946)




         The defendant is sentenced as provided in pages 2 through     4     of this judgment. The sentence is imposed pursuant
  to the Sentencing Refonn Act of 1984.
  o    The defendant has been rbund not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  181 Count(s) remaining in th9 Indictment and Superseding Indictment                 is   0    arel8l dismissed on the motion of the United States.
  (gI Assessment: $100.00.           i



  (gI Fine waived                    I                0 Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that       ~e   defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fincts, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the cou1 and United States Attorney ofany material change in the defendant's economic circumstances.

                                                                                MAY 13,2013
                                                                               Date of Imposition of Sentence



                                                                                   ~L.~
                                                                              HO~LL~HUFF
                                                                               UNITED STATES DISTRICT mDGE

                                                                                                                                                    09CR1209-H
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AD 245B (CASD) (Rev. 1211 n Judgment in a Criminal Case
            Sheet 2 -~ Imptsonment

                                                                                              Judgment   Page   2     of        4
 DEFENDANT: JO~GE CORTEZ (8)
 CASE NUMBER: O?CR1209-H
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
          2 MONTHS.




      o Sentence imposed pursuant to Title 8 USC Section 1326(b).
      D The court makes the following recommendations to the Bureau of Prisons:



      D The defendantl is remanded to the custody of the United States MarshaL
                          !
      o The defendant! shall surrender to the United States Marshal for this district:
            Oat                                    Da.m.    Dp.m.        on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States MarshaL

      !81 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           !81 before orion Friday July 5, 2013 by 12:00 P.M.
           D as notifie4 by the United States Marshal.
           D as notifieJ by the Probation or Pretrial Services Office.

                                                               RETURN
 I have executed this jhdgment as follows:
                              i


         Defendant delive1ed on                                                 to
                              I
 at    ______+-______ ' with a certified copy of this judgment.

                                                                                            UNITED STATES MARSHAL
                              I
                                                                    By
                                                                                         DEPUTY UNITED STATES MARSHAL

                                  I

                                  I
                                  I




                                  I

                                  I
                                  I


                                                                                                                           09CR1209-H
                                  I

                                  I
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AD 2458 (CASD) (Rev. 12A11) Judgment in a Criminal Case
           Sheet 3 ~ Supervised Release
                                                                                                               Judgment~Page    - L - of            4
DEFENDANT: JORbE CORTEZ (8)                                                                           a
CASE NUMBER: 09CR1209-H
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined~by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug tesiting condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance a+use. (Check, ifapplicable.)
jg]    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
jg]    The defendant shall tooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The detendant shall comply with die requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation offi¢er, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a q*alifYing offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgmen~ imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant ~ust comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions inl.posed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shaH not leave the judicial district without the permission of the court or probation officer;
                            I
  2)    the defendant sha~1 report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant sha~1 answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shal~ support his or her dependents and meet other family responsibilities;
  5)    the defendant shalI work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
                          I
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
                             I
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
                             I

  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shapi permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observ'bd in plain view of the probation officer;
 II)    the defendant shall tnoti fy the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shad not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the dourt; and
 13)    as directed by the ~obation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compllance with such notification requirement.

                                 I                                                                                                         09CR1209-H
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         AO 245B (CASD) (Rev. lZlll Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                           Judgment-Page --L- of _ .....4.:...._ _
         DEFENDANT: JOJGE CORTEZ (8)                                                                  II
         CASE NUMBER: ,9CR1209-H




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds fpr revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

o     If deported, excluded. o~ allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 houts of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o     Not transport, harbor, oriassist undocumented aliens.
o     Not associate with und09umented aliens or alien smugglers.
o     Not reenter the United States illegally.
181 Not enter or reside in thel Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o
                                 1


      Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o     Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
      report and available psy~ological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
      release of information be~een the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount tOI be determined by the probation officer, based on the defendant's ability to pay.
                                 I
                                 ,
o     Take no medication con~ining a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.  i

181 Provide complete discloske of personal and business financial records to the probation officer as requested.
o     Be prohibited from openirg checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
      probation officer.     I
181 Disclose the instant conviction to appropriate real estate licensing authorities as required by law.
!gj Not work as a real estate talaesperson, agent, or broker.
o     Complete           hours of community service in a program approved by the probation officer within
!gj   Reside in a Residential Rtentry Center (RRC) as directed by the probation officer for a period of 2 months.

o     Participate in a program qf drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow :ifr reciprocal release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of fervices rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                          09CR1209-H
